DOCUMENTS UNDER SEAL
                    Case 3:20-mj-71049-MAG Document 5 Filed 08/13/20 Page 110
                                                         TOTAL TIME (m ins):
                                                                             of mins
                                                                                1
M AGISTRATE JUDGE                         DEPUTY CLERK                              REPORTER/FTR
M INUTE ORDER                             Justine Fanthorpe via Zoom               Lee-Anne Shortridge via Zoom
MAGISTRATE JUDGE                          DATE                                      NEW CASE         CASE NUMBER
Susan van Keulen via Zoom                 8/13/2020                                                  3:20-mj-71049-MAG-1
                                                     APPEARANCES
DEFENDANT                                  AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                      PD.     RET.
Nima Fazeli via Zoom                               N        P       Jonathan Lynn via Zoom                  APPT.
U.S. ATTORNEY                              INTERPRETER                            FIN. AFFT              COUNSEL APPT'D
William Frentzen/Adriene Rose via Zoom                                            SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR              PARTIAL PAYMENT
                             Pepper Friesen via Zoom                 APPT'D COUNSEL                OF CJA FEES
                                       PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR             PRELIM HRG       MOTION           JUGM'T & SENTG                            STATUS 8
                                                                                                              TRIAL SETmins
       I.D. COUNSEL               ARRAIGNMENT             BOND HEARING             IA REV PROB. or            OTHER
      2 mins                                                                       or S/R
       DETENTION HRG              ID / REMOV HRG          CHANGE PLEA              PROB. REVOC.               ATTY APPT
                                                                                                              HEARING
                                                      INITIAL APPEARANCE
        ADVISED                 ADVISED                   NAME AS CHARGED             TRUE NAME:
        OF RIGHTS               OF CHARGES                IS TRUE NAME
                                                        ARRAIGNM ENT
       ARRAIGNED ON                ARRAIGNED ON             READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                 INDICTMENT               SUBSTANCE
                                                          RELEASE
      RELEASED           ISSUED                       AMT OF SECURITY       SPECIAL NOTES                PASSPORT
      ON O/R             APPEARANCE BOND              $                                                  SURRENDERED
                                                                                                         DATE:
PROPERTY TO BE POSTED                          CORPORATE SECURITY                       REAL PROPERTY:
    CASH    $


      MOTION           PRETRIAL               DETAINED          RELEASED        DETENTION HEARING              REMANDED
      FOR              SERVICES                                                 AND FORMAL FINDINGS            TO CUSTODY
      DETENTION        REPORT                                                   W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
    CONSENT                     NOT GUILTY                 GUILTY                    GUILTY TO COUNTS:
    ENTERED
    PRESENTENCE                 CHANGE OF PLEA             PLEA AGREEMENT            OTHER:
    REPORT ORDERED                                         FILED
                                                        CONTINUANCE
TO:                               ATTY APPT                BOND                   STATUS RE:
8/27/20                           HEARING                  HEARING                CONSENT                   TRIAL SET

AT:                               SUBMIT FINAN.            PRELIMINARY            CHANGE OF                 STATUS
                                  AFFIDAVIT                HEARING                PLEA                  re Conditions of
10:30AM                                                    _____________                                Release
BEFORE HON.                       DETENTION                ARRAIGNMENT             MOTIONS                  JUDGMENT &
                                  HEARING                                                                   SENTENCING
SVK
        TIME W AIVED              TIME EXCLUDABLE          IDENTITY /             PRETRIAL                  PROB/SUP REV.
                                  UNDER 18 § USC           REMOVAL                CONFERENCE                HEARING
                                  3161                     HEARING
                                                 ADDITIONAL PROCEEDINGS
Counsel to meet and confer re defendant's conditions of release; if no agreement the hearing on 8/27/20 will be held. The
Court notes discovery has been provided. Officer Friesen to email counsel and CRD the Pretrial Services Report. Status
Conference set 9/23/20 at 10:30am before Judge Tse. Time is excluded to 9/23/20 for preliminary hearing and trial.
                                                                                        DOCUMENT NUMBER:
